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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                CASE NO.:

 EUGENE WILLIAMS,

                Plaintiff,
 v.

 JANICE M. RILEY, INC.
 D/B/A THE PAVING LADY,

             Defendant.
 __________________________________/

                                              COMPLAINT
                                          {Jury Trial Demanded}

        Plaintiff, EUGENE WILLIAMS, brings this action against Defendant, JANICE M. RILEY,

 INC. D/B/A THE PAVING LADY, pursuant to the Fair Labor Standards Act (“FLSA”), 29 U.S.C

 § 201 et seq., and alleges as follows:

 1.     Jurisdiction is conferred on this Court by 28 U.S.C. § 1331 and 29 U.S.C. § 216(b).

 2.     At all times material hereto, Plaintiff EUGENE WILLIAMS was a resident of the State of

 Florida and an “employee” of Defendants as defined by the FLSA.

 3.     At all times material hereto, Defendant, JANICE M. RILEY, INC. D/B/A THE PAVING

 LADY, was a Florida corporation with its principal place of business in South Florida, engaged in

 commerce in the field of paving streets and private property, at all times material hereto was the

 “employer” of Plaintiff as that term is defined under statutes referenced herein, engaged along with

 its employees in interstate commerce, and has annual gross sales and/or business volume of

 $500,000 or more.

 4.     At all times material hereto, Defendant, JANICE M. RILEY, INC. D/B/A THE PAVING

 LADY, marketed and regularly performed work in Broward County, Florida.



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 5.      Two or more of Defendant’s employees handled tools, supplies, and equipment

 manfuactured outside Florida in furthernace of their business including but not limited to phones,

 computers, computer monitors, computer keyboards, computer mice, pens, and paper.

 6.      Plaintiff EUGENE WILLIAMS worked for Defendant as a laborer.

 7.      Defendant failed to pay Plaintiff’s full and proper overtime wages of 1.5 times Plaintiff’s

 regular hourly rate for hours worked over 40 each week.

 8.      Attached as Exhibit A is a preliminary calculation of Plaintiff’s claims. These amounts may

 change as Plaintiff engages in the discovery process.

 9.      Defendant knowingly and willfully refused to pay Plaintiff’s legally-entitled wages.

 10.     Plaintiff has complied with all conditions precedent to bringing this suit, or same have been

 waived or abandoned.

 11.     Plaintiff has retained the services of the undersigned and is obligated to pay for the legal

 services provided.

                                     COUNT I
                 VIOLATION OF FAIR LABOR STANDARDS ACT (“FLSA”)

 12.     Plaintiff realleges and incorporates the allegations set forth in paragraphs 1-11 above as if

 set forth herein in full.

 13.     Plaintiff alleges this action pursuant to the Fair Labor Standards Act, 29 U.S.C. §§ 216 (b),

 that Plaintiff is entitled to: (i) time-and-a-half overtime pay and (ii) liquidated damages pursuant

 to the Fair Labor Standards Act, 29 U.S.C. §§ 201 et seq.

 14.     Plaintiff seeks recovery of damages as referenced above and further seeks interest, costs,

 and attorneys’ fees pursuant to 29 U.S.C. § 216(b).

         WHEREFORE, Plaintiff demands judgment against Defendant plus costs, reasonable

 attorneys’ fees, and such other remedy as the court deems just and appropriate.



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                                    Respectfully submitted,

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